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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA          )
                                  )
     v.                           )    Cr. No. 15-10338-FDS
                                  )
6.   HERZZON SANDOVAL,            )
     a/k/a “Casper,”              )
     Defendant                    )

          GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION
               FOR RELEASE FROM PRE-TRIAL DETENTION

     On February 26, 2016, after an evidential hearing, United

States Magistrate Judge Jennifer C. Boal detained Herzzon

Sandoval, a/k/a “Casper,” the leader of MS-13’s Eastside Loco

Salvatrucha (ESLS) clique, and Edwin Guzman, a/k/a “Playa,” the

second-in-command of ESLS (Docket No. 260). On May 13, 2016,

Guzman appealed his detention order and requested that he be

released on conditions pending trial (Docket No. 470). On June

24, 2016, the government opposed Guzman’s motion for release

(Docket No. 528) (hereinafter the “June 24th Filing”). 1

     On July 29, 2016, after a hearing, the Court denied

Guzman’s motion (Docket No. 587). Sandoval has now filed a

nearly-identical motion for release (Docket No. 776). For the




1    The government filed several exhibits with its opposition,
including Exhibit 1(detention affidavit), 2 (transcript of Joel
Martinez, a/k/a “Animal,” describing murder of Irvin De Paz on
Trenton Street in East Boston), and 4 (video clips of Martinez
beat-in by ESLS and of ESLS disciplining Mauricio Sanchez, a/k/a
“Tigre,” for violating clique rules). The government will
provide the exhibits for the June 24th Filing to Sandoval.
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reasons stated in the government’s June 24th Filing, incorporated

by reference, the Court should deny Sandoval’s motion as well.

     As was discussed in detail at the Sandoval-Guzman detention

hearing, agents succeeded in introducing a cooperating witness

(CW-1) into the ESLS clique, one of the largest MS-13 cliques in

Massachusetts. CW-1 identified Sandoval as the “first word” or

leader of ESLS. CW-1 attended numerous ESLS clique meetings led

by Sandoval at a garage in Everett, Massachusetts. CW-1 recorded

several clique meetings, including one where Sandoval and the

clique made Joel Martinez, a/k/a “Animal,” a “homeboy” or full

member of ESLS because he murdered a gang rival, 2 and another


2    As was noted in the June 24th Filing, on September 20, 2105,
Joel Martinez, a/k/a “Animal,” murdered Irvin De Paz, an 18th
Street gang member, on Trenton Street in East Boston. After the
murder, CW-1 recorded a conversation with Martinez where he
boasted he had killed a “big rival gang member” and told CW-1,
“I stabbed the asshole three times, and it was a beautiful
thing! Just beautiful!” Exhibit 2 (draft transcript of Martinez
recording). On January 8, 2016, Sandoval led an ESLS clique
meeting where Martinez was made a “homeboy” or full member of
MS-13 and ESLS because he murdered De Paz. Sandoval advised the
clique that everyone was looking for Martinez and that they
needed to find him a place to live somewhere outside of MS-13
territory. The clique agreed that Martinez could be jumped in as
a “homeboy” but advised Martinez that he still needed to
continue putting in work (i.e., kill 18th Street members).
Sandoval told Martinez that when people ask him he should say
that he is “Animal” from Eastside and that he was the one who
did the murder. Toward the end of the clique meeting, ESLS
members gathered in a circle around Martinez, knocked him to the
ground, and beat him for thirteen seconds. Guzman put his arm
around Martinez and said, “Welcome to La Mara,” as other members
cheered. See generally Exhibit 1, ¶¶ 29-32 and Exhibit 4.
                                2
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where Mauricio Sanchez, a/k/a “Tigre,” an ESLS member, was

beaten for violating gang rules. 3 CW-1 also described MS-13

meetings where Sandoval discussed the need to maintain “clique”

firearms at the Everett garage where ESLS met, so that any ESLS

member would have access to it, and the need for ESLS member

Erick Argueta Larios, a/k/a “Lobo,” to replace a clique firearm

that had been seized by the police. 4

     In addition to supervising and approving of the beat in of

Martinez for the murder of De Paz on Trenton Street, two members

of Sandoval’s clique – Sanchez and Jose Hernandez-Miguel, a/k/a

“Muerto” – have pleaded guilty or are scheduled to plead guilty

to racketeering conspiracy. Both Sanchez and Hernandez-Miguel

participated in attempted murders of gang rivals. See Exhibit 1,

¶ 19 (listing Sanchez and Hernandez-Miguel as ESLS members);

Fourth Superseding Indictment at pp. 31-32 (identifying


3    On October 25, 2015, Sandoval led an ESLS clique meeting
where Mauricio Sanchez, a/k/a “Tigre,” was disciplined because
clique members could not get in touch with him and he did not
answer his phone when ESLS members tried to contact him. Tr. at
33. At the conclusion of the meeting, members went outside the
garage where the clique meetings were held and beat Sanchez. Tr.
at 33-34. The recording takes place at night and is dark, but
the audio recording captured the sound of Sanchez being beaten
while someone counted to thirteen. See Exhibit 4.

4    In actuality, CW-1 had tipped off agents that Eric Argueta
Larios, a/k/a “Lobo,” was armed with a handgun. Acting on CW-1’s
information, agents located Larios coming out of a Chelsea bar,
frisked him, and seized the loaded handgun.
                                3
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attempted murders committed by Sanchez and Hernandez-Miguel at

subparagraphs (o) and (r)). As a member of MS-13 (an

organization whose mission is defined by violence), and as the

leader of the ESLS clique, the actions of clique members Sanchez

and Hernandez-Miguel were attributable to, and reasonably

foreseeable by, Sandoval. 5

     For all of these reasons, Judge Boal was surely correct

when she concluded that “[t]he dangerous nature and circumstance

of the alleged crime and the defendant’s gang involvement weigh

heavily in favor of detention.” Id. The government respectfully

requests that this Court affirm Judge Boal’s order and detain


5    In his motion, Sandoval suggests that he should be released
on conditions because “[i]n the months prior to his arrest,” he
“had expressed dissatisfaction with the hierarchy of MS-13. This
dissatisfaction allegedly caused the defendant to propose that
the clique no longer participate in the larger MS-13 gang.”
Defendant’s Motion at 5. This is misleading. During the FBI’s
investigation, CW-1 received information that MS-13 leaders in
El Salvador had established a detailed series of rules for
cliques along the east coast of the United States (referred to
as the “East Coast Program”). Under the East Coast Program,
cliques were required to send funds to MS-13 leaders in El
Salvador. In part, this was to help provide for MS-13 members
who were deported from the United States back to El Salvador. It
is correct that, during the FBI’s investigation, Sandoval
eventually began to question the utility of participating in the
East Coast Program, but only because, unlike many other MS-13
members, Sandoval was lawfully present in the United States (and
thus had less need to plan for possible removal). Sandoval’s
reluctance to participate in the East Coast Program caused him
to be “green lighted” by MS-13 leaders. See Exhibit 1, ¶ 15.
These facts support his continued detention, not Sandoval’s
request for release.
                                4
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Sandoval pending trial.

                                        Respectfully submitted,

                                        CARMEN M. ORTIZ
                                        United States Attorney

                                  By:   /s/ Christopher Pohl
                                        Christopher Pohl
                                        Peter K. Levitt
                                        Glenn A. MacKinlay
                                        Assistant U.S. Attorneys

                        CERTIFICATE OF SERVICE

     I, the undersigned, hereby certify that this document filed
through the ECF system will be sent electronically to the
registered participants as identified on the Notice of
Electronic Filing (NEF) on November 22, 2016.

                                        /s/ Christopher Pohl
                                        Christopher Pohl
                                        Assistant U.S. Attorney




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